23-10164-smr Doc#364 Filed 01/03/24 Entered 01/03/24 13:16:13 Main Document Pg 1 of
                                         3




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: January 03, 2024.

                                                              __________________________________
                                                                      SHAD M. ROBINSON
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

   In re:                                       §
                                                §       Case No. 23-10164-smr
   ASTRALABS, INC.,                             §
                                                §       Chapter 7
             Debtor.                            §

                ORDER GRANTING TRUSTEE’S MOTION FOR
      EXPEDITED OR EX PARTE CONSIDERATION OF THIRD MOTION FOR
   EXTENSION OF DEADLINE TO ASSUME OR REJECT EXECUTORY CONTRACTS

            On this date, the Court considered the request for expedited or ex parte consideration

  (the “Motion to Expedite”) of Trustee’s Third Motion for Extension of Deadline to Assume or

  Reject Executory Contracts (the “Motion for Extension”). The Court finds that the Motion to

  Expedite complies with Title 11 of the United States Code, §§ 101 et seq., the Federal Rules of

  Bankruptcy Procedure, and the Local Bankruptcy Rules for the Western District of Texas, that

  notice thereof is adequate under the particular circumstances, and that the Motion to Expedite

  demonstrates that sufficient cause exists for shortening the normal response time and scheduling

  expedited or ex parte consideration of the Motion for Extension. It is therefore:

            1.     ORDERED that the Motion to Expedite is GRANTED; it is further


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23-10164-smr Doc#364 Filed 01/03/24 Entered 01/03/24 13:16:13 Main Document Pg 2 of
                                         3



        2.    ORDERED that the Court will consider the Motion for Extension on an ex parte

              basis or on the date and time set forth above with the Court’s signature, if any.

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23-10164-smr Doc#364 Filed 01/03/24 Entered 01/03/24 13:16:13 Main Document Pg 3 of
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  Order respectfully submitted by:
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